Case 9: Goa CV VS Document9 Filed 10/28/22 Page 1 of 33

U.S. DISTRICT COURT - N.D. OF N.Y.
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Case 9:22-cv-00825-BKS-CFH Document9 Filed 10/28/22 Page 19 of 33

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Case 9:22-cv-00825-BKS-CFH Document9 Filed 10/28/22 Page 20 of 33
FROM : a FAX NO. : Jan. @5 2882 @5:20AM P3

State of New York se
Department of Corrections and Community Supervision a Urgent

REQUEST FOR RADIOLOGICAL EXAMINATION 4<-T Routine

Inmate: Analy acd pin: [9 A PUG po =

First Name Last Name
Facility: SW Date Received:  /2 Sy Y, - z./___ Location: a. ffm OS
Transport/Ambulation Assistance/Precautions Needed: ANG oe

Reason for X-ray/pertinent medical history: he ol\. Kr bu tt [ by
€/@ [2212 /STIEPaE85_ Et ADs ~ ALICE

Area X-Rayed: wo i Vn ( Get. O-)

\ Ordered By: ee a * Date SOE S/O Tithe:
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Technologist:. So Tr OE, 6— Date/Time of exam: £4, hy yfo)

Report/Findings:__
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léca4tion or avascular necrosis either side. Narrowing joint space with _

sclerosis—&-osteophyte formation mild in Rt hip & moderate in Lt hip.
9mm osseous fragment séén inferior to Lt pubic arch-consistent—with- old
avulsion injury of ischial tuberosity (hamstring) | with fragment sharply
defined &-displaced—infertorly. oo

IMP: DEGENERATIVE OSTEOARTHRITIS .BOTH..HTPS MILD .RT:.AEP- her RE RATE LT -HIP.

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Case 9:22-cv-00825-BKS-CFH Document9 Filed 10/28/22 Page 23 of 33

; ol. STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
COPY LOCALLY REQUEST FOR REASONABLE ACCONMODATION
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Inmate's Name f DIN#
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Revised (7/11)
Form #2614B
COPY LOCALLY

Filed 10/28/22 Page 24 of 33

STATE OF NEW YORK - DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

REQUEST FOR REASONABLE ACCOMMODATION

AS NEEDED
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PAA WAAG aR Correctional Facility
Inmate's Name DIN# Date
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Document9 Filed 10/28/22

Page 25 of 33

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INCARCERATED GRIEVANCE PROGRAM

IGRC HEARING RESPONSE

GRIEVANCE NO.

HEARING DATE

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If yes, why:

Response of IGRC:

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Chairperson:

|GRC Members:

Date Returned to Grievant:

Appeal:

If you wish to appeal, please check the appropriate box below and return within 7 calendar days to the IGRC

office at the facility where the grievance

| disagree with the IGRC

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| agree with the IGRC response and
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Date:

Grievant Signature: L ,

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*An exception to the time limit may be requested under Directive #4040, § 701.6 (g).

| want to apply to the IGP Supervisor
for review of the IGRC dismissal.

| have reviewed the Deadlocked response.
Refer to Superintendent.

To be completed by Grievance Clerk.

Grievance Clerk Signature:

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Date Forwarded to Superintendent For Action:

FORM 2131 (Reverse) (12/21)

Date Received:

ExHIBITN &

| ; Case 9:22-cv-00825-BKS-CFH Document9 _ Filed 10/28/22 Page 26 of 33

a GRIEVANCE NO. DATE FILED
11 Corrections and
Ct STATE | Community Supervision | SHG-0152-22 04/13/22
JF NE mrp FACILITY POLICY DESIGNATION
Shawangunk Correctional Facility
SUPERINTENDENT Wants standard chair for cell use 22
Thomas MeGiihness SUPERINTENDENT'S SIGNATURE DATE
YN yner 05/04/22
GRIEVANT. DIN HOUSING UNIT
Verdi, \V. 19-A-2467 B1-104

: Grievant complains his medical issues cause him discomfort. Grievant says a chair will help
alleviate his discomfort. He would like a medical permit to have a standard chair in his cell.

The facility Nurse Administrator R..., determined at this time a chair in the cell is a security and
- Safety risk.

’ Grievance is denied.

‘ APPEAL STATEMENT
If you wish to refer the above decision of the Superintendent, please sign below, and return this copy to your Inmate Grievance
Clerk. You have seven (7) calendar days from receipt of this notice to file your appeal. * Please state why you are appealing
this decision to C.O.R.C.

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GRIEVANCE CLERK'S SIGNATURE : DATE

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Form 2133 (02/15)

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Case 9:22-cv-00825-BKS-CFH Document9 _ Filed 10/28/22 Page 29 of 33
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Filed 10/28/22 Page 31 of 33

Case 9:22-cv-00825-BKS-CFH Document 9

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Case 9:22-cv-00825-BKS-CFH Document9 _ Filed 10/28/22 Page 32 of 33

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Case 9:22-cv-00825-BKS-CFH Document9 Filed 10/28/22 Page 33 of 33

NEW | Corrections and

YORK

STATE | Community Supervision
KATHY HOCHUL ANTHONY J. ANNUCCI
Governor Acting Commissioner

MEMORANDUM f3l= 14

To:  I/l Verde19A2467
From: Marisa Ruiz, RN/NA

Subject: Letters regarding Lower Extremities

Date: 07/19/22

Dear Mr. Verdi,

| am writing you regarding the letter you mailed to me in June. | am sorry that your medical issues
were not addressed in your last visit with Dr. Win. | have discussed your issues with Dr. Win, and
you are scheduled to meet with him within the month to discuss your issues with your hip, lower
extremities, and daily living skills. | know in the past you requested to have a chair in your room.
Due to safety issues and hazards we are unable to accommodate this request, but you can discuss
this with Dr. Win at your next scheduled appointment.

Thank you for your time and patience and we look forward to helping you with your current medical
issues to maximize your health and wellness.

Thank you.

Marisa Ruiz, NA

cc: file DSA

Shawangunk Correctional Facility, 200 Quick Road, P.O. Box 750, Wallkill, NY 12589-0750 | (845) 895-2081 | www.doccs.ny.gov

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